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                     EXHIBIT A
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30-2     Case 8:21-cv-02133-KES
       1-01232484-CU-CR-CJC - ROA# 2Document
                                     - DAVID H. 1-1 Filed, 12/30/21
                                                YAMASAKI                PageBy2 Arlene
                                                           Clerk of the Court   of 9 Gill,
                                                                                       Page  ID #:4
                                                                                           Deputy Cl rk.




        Fentriss Eugene Winn
        2321 East 4th Street #612
  2
        Santa Ana, Ca. 92705
  3     coachwinn@gmail.com
        760-717-3077
 4
                                                                                            Assigned for All Purposes
  5                                                                                           Judge James Crandall
                         IN THE SUPERIOR COURT OF THE STATE OF CALIFORNA
  6
                                                                                    30-2021-01232484-CU-CR-CJC
  7      Fentriss Eugene Winn
                                                                        COMPLAINT Title VII Civil Rights
  8                     PLAINTIFFS,                                     Act of 1964, § 706(g)(42 U.S.C.A.
                V.                                                      § 2000e-5(g)) and the California
  9     SANT A ANA UNIFIED SCHOOL                                       Constitution. Violation of
        DISTRICT                                                        Government Code 12940(a)RACE
 10

 11

                     DEFENDANTS.                                                                                  ------- -
 12

 13                                                  COUNTY of ORANGE
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20
               COMES NOW Fentriss Winn, Plaintiff in the above entitled and numbered cause, files
21
       this Complaint against Defendant, Santa Ana Unified School District and in support thereof
22
       would show unto the Court the following matters and facts.
23

24             1.       This is an action for damages based upon unlawful employment practice

25     committed by Defendant Santa Ana Unified School District, and jurisdiction of this Court is
26
       invoked pursuant to the provisions of Title VII of the Civil Rights Act of 1964, § 706(f) (42 U.S
27
       A; A § 2QOOe-5(f)).
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 2
            2.      Such Promotion discrimination is prohibited under Title VII of the Civil Rights

     Act and under the California Fair Employment and Housing Act. to wit discrimination based on:
                                                                                                           I
 3
     Race, Color, or National Origin, or Ethnicity.
 4

 5          3.      The claims asserted in this complaint arose in this District and Division. Plaintiff

 6   is a citizen of the United States and was a resident of the County of Orange. State of California
 7
     during the course of his employment with Defendant.
 8

 9          4.      Defendant Santa Ana Unified School District is a public entity corporation

10   organized and existing under the laws of the State of California.
11
            5.      Plaintiff brings this action pursuant to the provisions of Title VII of the Civil
12
     Rights Act of 1964, §§ 704(a) and 706(g) (42 U.S.C.A. § 2000e-3(a), 42 U.S.C.A. § 2000e-
13
     5(g)), for damages to compensate him for the economic loss and other damages caused by
14

15   Defendant's unlawful employment practice committed against Plaintiff because Plaintiff was a

16   member of the African American race. Plaintiff was hired by Defendant on or about 09/15/2009
17
     and began work for Defendant on or about 12113/2009 Because of the continuing discrimination
18
     and harassment Plaintiff has suffered by the acts of the Defendant (has suffered great financial
19
     and mental harm).
20

21          6.      In October of 2018, Plaintiff applied for the position of Director of Building

22   Services for the Santa Ana Unified School District. At the time of Plaintiffs application, Plaintif
23
     held the position of Manager 1, Building Services for the Santa Ana Unified School District.
24
            7.      Plaintiff proceeded through the application process, including a district-level
25
     human resource paper screen, a first and second-panel interview, and a writing sample. Orin
26

27   Williams, Assistant Superintendent of Facilities and Governmental Relations, told Plaintiff that

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     he was the recommendation to the School Board by the Superintendent's office shortly after the
 2
     interview process concluded. Mr. Williams said no official announcement would be coming until
 3
     the next board meeting.
 4
            8.      On the night of the board meeting, Mr. Williams called Plaintiff to tell him that
 5

 6   there was a problem with the Board approving Plaintiffs recommendation. Plaintiff asked at that

 7   time, "What was the issue with the Board approving (the) recommendation?" Mr. Williams said
 8
     he was not sure, but members of the Board did not think Plaintiff would be a good fit. He said to
 9
     let him talk to the Board and try to get the Superintendent's recommendation approved. Mr.
JO
     Williams ended the conversation by saying they do not know you but need to know more about
11

12   you. In the meantime, he said, "we are going to make you the Interim Director of Building

13   Services," effective on December 18, 2018.
14
            9.      Plaintiff was not approved for the position after being the recommendation from
15
     the Superintendent's office after the process.
16
            10.     Plaintiff was not allowed to fulfill the Superintendents recommendation and
17

18   began a probationary period as the Director, as other non-African American candidates receive

19   once appointed.
20
            11.     The school board rejected the Superintendent's recommendation of Plaintiff to the
21
     Director's position but then named Plaintiff as Interim Director; therefore was fit for Director's
22
     position.
23

24          12.     Plaintiff was the only Manager or Director who earned a selection from the

25   Superintendent's office that was not allowed to take the permanent position.
26
             13.    The district opened the Director of Building Services position two weeks after
27
     Plaintiff was appointed Interim Director. Plaintiff spoke with Orin Williams shortly after the
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     position opened, and he instructed Plaintiff to re-apply. He said to do the best you can as the
 2
     current position of Interim Director to show the Board you can lead the department. He ended
 3
     the conversation by stating, "that still may not be enough."
 4
            14.     Plaintiff re-applied for Director of Building Services on January 28, 2019, while
 5

 6   being in the role of Interim Director. Plaintiff was allowed to take the position oflnterim

 7   Director, he believes, so that Mr. Williams and the Board could make the job as difficult as
 8
     possible by not staffing or supporting him. By doing this, they could later say he struggled in the
 9
     interim position. Plaintiff was in a system that held Plaintiff to a different standard; he decided to
10
     trust the process and win the position again. After being named Interim Director and taking over
11

12   the department's helm, the new interviews took place on or about February 14 of 2019.

13          15.     Plaintiff had proceeded through the first round of interviews. Before the 2nd
14
     round of the interview, his colleague and Manager 1 of Building Services, Brian Allen, informed
15
     Plaintiff that Orin Williams had called him to his office to prepare him for the upcoming
16
     interviews. Plaintiff asked Brian whether Orin was going to be a part of the process? Brian stated
17

18   that he was uncomfortable with the meeting and that Orin also shared with him what the writing

19   sample would be about and encouraged him to practice. He also instructed Brian on how to
20
     answer questions for the upcoming second and final interview.
21
            16.     In every interview panel the Plaintiff had attended at Santa Ana Unified School
22
     District during the interview process, a four- or five-person group was the minimum. During the
23

24   second and final interview, the panel was Orin Williams and Mark McKinney. Orin, who had

25   helped another finalist with testing and application information, and Mr. McKinney, who was a
26
     couple of months away from retirement. Defendants discriminated against and perpetuated
27

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     racism by manipulating the outcome. If a four or Five-person panel were in the process, it would
 2
     be more challenging to manipulate the system for racist purposes.
 3
            17.     After the process and a few days before the board meeting when the Director
 4
     position decision was announced, Plaintiff was invited to lunch with Brian Allen and Orin
 5

 6   Williams. Brian Allen called the lunch meeting because he was concerned about Plaintiffs

 7   treatment by Orin Williams. He did not want Plaintiff to go to the board meeting to find out that
 8
     he was no longer going to be Interim Director or getting the Director's position.
 9
            18.     Orin Williams told Plaintiff that Brian was getting the position and tied his hands.
10
     Plaintiff said, "what do you mean by that?" He said the Board was not comfortable with an
ll

12   African American leading the 98% Latino/Mexican department. Plaintiff was s ocked by this,

13   but more disappointed because deep down, he knew his skin color was always front and center
14
     throughout his prior hiring process in the Santa Ana Unified School District, from applying for a
15
     Manager's position in 2017 and being denied the initial promotion to his experience applying for
16
     to the Director's job. The school board was unwilling to have an African American in the
17

18   Director's position and initially did not want African Americans in a Manager's position.

19          19.     Plaintiff applied for open competitive positions. Although he was the top
20
     candidate based on scoring criteria by the district, Plaintiff was denied a permanent position and
21
     instead was made interim on two occasions. Plaintiff was the only manager who applied for a
22
     permanent position in the Building Services department that was denied an earned position, and
23

24   instead made an interim so the position could be reposted, allowing the district to hire a non-

25   African American.
26
            20.     Plaintiff was denied an opportunity to get additional training because Plaintiff is
27
     black, but since Plaintiffs rejection to get approved to attend the CASH maintenance cohort at
28   COMPLAINT
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     least 3-4 Latino co-workers have been approved. Plaintiff has longer tenure and a position
 2
     aligned with the training program. Plaintiff was denied limiting Plaintiffs ability to use the
 3
     additional training in future job promotions.
 4
            21.      The district is aware of other African American employees who have experienced
 5

 6   blatant violations of the civil rights act of 1964 in relation to race.

 7          22.      Due to Defendant's wrongful job advancement practice, Plaintiff was ignored for
 8
     consideration as Director. At the same time, Latino, Hispanic, and Caucasian employees with
 9
     less seniority and education and no higher qualification than Plaintiff were made Director or put
10
     in positions of Interim Director without an application process. As a result, Plaintiff became
II

12   increasingly-dissatisfied with this--racist treatment at his job and made complaints to his

13   supervisors, who failed or refused to consider a fair process relating to Plaintiffs grievances, all
14
     of which constituted further discrimination against Plaintiff. All the above-described conduct
15
     resulted in precluding the promotion of Plaintiff from which Plaintiff seeks recovery of damages.
16

17
             23 .    Plaintiff also alleges that after the charge against Defendant was served by the
18
     DFEH/EEOC. DFEH/EEOC has endeavored to eliminate the unlawful practices by informal
19

20
     methods of conference, conciliation, and persuasion, but such conciliatory efforts have failed. 0

21   or about October 3. 2021, Plaintiff received notice of such failure in the form of a written letter

22   pursuant to§ 706(e) of Title VII (42 U.S.C.A. § 2000e-5(e)) from the DFEH/EEOC which gave
23
     Plaintiff notice of the right to institute civil action within 90 days after receipt of notice.
24

25
             24.     As a direct and proximate result of Defendant's acts, Plaintiff has suffered
26
     economic and other loss. Plaintiff has devoted a substantial portion of his work life to the
27

28   COMPLAINT
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          employment of Defendant. Due to age, Plaintiff has lost all possibility of obtaining the rights
      2
          which attached to seniority on jobs and possible retirement benefits. Plaintiff has also suffered
      3
          great economic harm in that for the twelve years he has been employed by Defendant this job
      4
          advancement policy resulted in a continuing discrimination, despite Plaintiffs efforts to achieve
      5

      6   and advance.

      7

      8
                                 25.     Because of the damages sustained, Plaintiff is entitled to such
          affirmative relief as may be appropriate, including, but not limited to, lost wages and lost
      9   retirement benefits pursuant to the provisions of Title VII Civil Rights Act of 1964, § 706(g) (42
          U.S.C.A. § 2000e-5(g)) and the California Constitution. and the California Constitution and
     JO   institutional discrimination concerning race as a protected class by the civil rights law of 1964.
          Violation of Government Code 12940(a)RACE
     11
                                                                                             ---------
     12

     13          WHEREFORE Plaintiff Claims:

     14
             1. That Plaintiff be appointed to the position of Director of Building Services,
     15

     16      2. That Plaintiff be awarded all lost wages be paid since the time of Plaintiffs original
     17         recommendation.

     18
             3. To be compensated for pain and suffering, and for the loss wages and impact on future
     19         retirement.
     20

     21
             4. To have all discriminatory actions against him        stopped now and in the future

     22
             5. Damages in this case together with such other relief as the Court deems appropriate.
     23

     24      6. The Court award Plaintiff a reasonable attorney's fee; and

     25
             7. The Court award the Plaintiff costs and such other and further relief as appears
     26
                just and equitable in the circumstances.
     27

     28   COMPLAINT
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                                       Respectfully submitted,
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                                              FENTR1SS WINN
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